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 1   Sarah Uhlemann (DC Bar No. 501328)*
     Tanya Sanerib (DC Bar No. 473506)*
 2   Center for Biological Diversity
 3   2400 NW 80th Street, #146
     Seattle, WA 98117
 4   Phone: (206) 327-2344
 5   Email: suhlemann@biologicaldiversity.org
              tsanerib@biologicaldiversity.org
 6
     *Admitted Pro Hac Vice
 7
 8   Attorneys for Plaintiff Center for Biological Diversity

 9
                         IN THE UNITED STATES DISTRICT COURT
10
                             FOR THE DISTRICT OF ARIZONA
11                                 TUCSON DIVISION
12   Center for Biological Diversity,
13
                   Plaintiff,                        Case No. 4:21-cv-00470-RCC
14
            v.                                       AFFIDAVIT OF SERVICE
15
16   U.S. Fish and Wildlife Service, et al.,
17                 Defendants.
18
19          I respectfully certify that service for the above-captioned case took place as
20   described below, which included true and correct copies of each of the following
21   documents:
22
            ECF No. 1                Complaint
23          ECF No. 1-1              Civil Cover Sheet
            ECF No. 2                Notice of Related Case
24          ECF No. 3                Corporate Disclosure Statement
25          ECF Nos. 6 to 6-3        Issued Summons
            ECF No. 8                Magistrate Consent Form
26
27          On November 22, 2021, I caused the above-listed documents to be sent by

28   certified mail, electronic return receipt requested, to the following parties:
       Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 2 of 10



 1          U.S. Fish and Wildlife Service
 2          1849 C Street NW
            Washington, DC 20240
 3
            Secretary Debra Haaland
 4          U.S. Department of the Interior
 5          1849 C Street NW
            Washington, DC 20240
 6
            Civil Process Clerk
 7
            U.S. Attorney’s Office
 8          Two Renaissance Square
            40 N. Central Ave., Suite 1800
 9          Phoenix, AZ 85004-4449
10
            Attorney General
11          U.S. Department of Justice
            950 Pennsylvania Ave., NW
12
            Washington, DC 20530-0001
13
14          The U.S. Fish and Wildlife Service and Secretary Haaland received the documents
15   on November 30, 2021. The Attorney General received the documents on December 1,
16   2021. We did not receive confirmation that the U.S. Attorney’s Office received the initial
17   service. On December 9, 2021, I caused the above-listed documents to again be sent by
18   certified mail to the Civil Process Clerk at the U.S. Attorney’s Office at the above-listed
19   address. The U.S. Attorney’s Office received the documents on December 13, 2021.
20   Receipts and delivery confirmation are attached as Exhibit A.
21          Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury that the foregoing
22   is true and correct.
23
     DATED this 14th day of December, 2021.          Respectfully submitted,
24
                                                     s/ Sarah Uhlemann
25                                                   Sarah Uhlemann (DC Bar No. 501328)*
                                                     Center for Biological Diversity
26                                                   2400 NW 80th Street, #146
                                                     Seattle, WA 98117
27                                                   Phone: (206) 327-2344
                                                     Email: suhlemann@biologicaldiversity.org
28
     Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 3 of 10



 1                                        *Admitted Pro Hac Vice
 2                                        Attorney for Plaintiff
                                          Center for Biological Diversity
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Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 4 of 10




                      Exhibit A
Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 5 of 10
                Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 6 of 10


November 30, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7933.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     November 30, 2021, 1:29 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 7.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 7 of 10


November 30, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7940.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     November 30, 2021, 1:29 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 7.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 8 of 10


December 1, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7988.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     December 1, 2021, 4:51 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 7.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
00470-RCC Document 9 Filed 12/14/21
USPS.com® - USPS Tracking® Results
                           Case 4:21-cv-00470-RCC Document 9 Filed 12/14/21 Page 10 of 10




                                      ®
                                                                                                            Tracking                  FAQs
   USPS Tracking

    Track Another Package                    +
                         Track Packages                     Get the free Informed Delivery ® feature to receive
                                                                                                                          Learn More
                                                            automated notifications on your packages                     Learn  More
                         Anytime, Anywhere




                                                                                                                                   Remove         
                Tracking Number: 9402611108036830954790


                Your item was delivered to an individual at
                the address at 5:07 pm on December 13,
                2021 in PHOENIX, AZ 85004.


                USPS Tracking Plus™ Available               



                Status

                  Delivered, Left with
                Individual
                December 13, 2021 at 5:07 pm
                PHOENIX, AZ 85004


                Get Updates       




                                                                                                                       Delivered



                   Text & Email Updates                                                                                        




                   Tracking History                                                                                            




                   USPS Tracking Plus™                                                                                         




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9402611108036830954790%2C&tABt=false[12/14/2021 9:19:07 AM]
